Case 3:13-cr-00139   Document 20   Filed 08/27/13   Page 1 of 6 PageID #: 47
Case 3:13-cr-00139   Document 20   Filed 08/27/13   Page 2 of 6 PageID #: 48
Case 3:13-cr-00139   Document 20   Filed 08/27/13   Page 3 of 6 PageID #: 49
Case 3:13-cr-00139   Document 20   Filed 08/27/13   Page 4 of 6 PageID #: 50
Case 3:13-cr-00139   Document 20   Filed 08/27/13   Page 5 of 6 PageID #: 51
Case 3:13-cr-00139   Document 20   Filed 08/27/13   Page 6 of 6 PageID #: 52
